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 5     440 N. Barranca Ave. #7550
 6     Covina, CA 91723
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 7     Fax: (650) 466-6182
 8
       Attorneys for Defendant,
 9     MOZILLA FOUNDATION
10

11                          UNITED STATES DISTRICT COURT
12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                                SOUTHERN DIVISION
14     BRIAN G. HOLTKAMP,                     Case No. 8:24-cv-01285-JWH-
15             Plaintiff,                     ADSx
16           v.                               DECLARATION OF CHRIS K.
17     MOZILLA FOUNDATION,                    RIDDER IN SUPPORT OF
18
                                              DEFENDANT MOZILLA
               Defendant.                     FOUNDATION’S MOTION TO
19                                            DISMISS THE COMPLAINT
20
                                              Complaint filed: June 13, 2024
21                                            Judge: Hon. John W. Holcomb
22
                                              Magistrate Judge: Hon. Autumn D.
                                              Spaeth
23

24                                            Hearing date: August 23, 2024
                                              Hearing Time: 9:00 a.m.
25                                            Courtroom: 9D
26

27

28
       DECLARATION OF CHRIS K. RIDDER ISO MOTION TO DISMISS THE COMPLAINT
          Case 8:24-cv-01285-JWH-ADS Document 14 Filed 07/23/24 Page 2 of 22 Page ID #:70



      1                           DECLARATION OF CHRIS K. RIDDER
      2          I, Chris K. Ridder, declare as follows:
      3          1. I am over the age of eighteen and am competent to testify to the facts
      4    stated in this declaration. I am an attorney and partner with the law firm of Ridder,
      5    Costa & Johnstone LLP, counsel of record for defendant Mozilla Foundation. I am
      6    admitted to the Bar of the State of California and licensed to practice before this
      7    Court. Except where otherwise stated or obvious from context, I have personal
      8    knowledge of the matters stated herein, and if sworn as a witness would testify
      9    competently thereto.
     10          2. Attached hereto as Exhibit A is a true and correct copy of the first
     11    complaint that Brian G. Holtkamp filed against Mozilla Foundation on April 17,
     12    2024 (Case No. 8:24-cv-00850-CJC-ADS).
     13          3. Attached hereto as Exhibit B is a true and correct copy of the Order On
     14    Request to Proceed In Forma Pauperis (Non-Prisoner Case), entered May 1, 2024,
     15    dismissing the first complaint that Brian G. Holtkamp filed against Mozilla
     16    Foundation.
     17          4. Attached hereto as Exhibit C is a true and correct copy of the second
     18    complaint that Brian G. Holtkamp filed against Mozilla Foundation on May 15,
     19    2024 (Case No. 8:24-cv-01058-JWH-ADS).
     20          5. Attached hereto as Exhibit D is a true and correct copy of the Order On
     21    Request to Proceed In Forma Pauperis (Non-Prisoner Case), entered May 17, 2024,
     22    dismissing the second complaint that Brian G. Holtkamp filed against Mozilla
     23    Foundation.
     24

     25          I declare under penalty of perjury under the laws of the United States that
     26    the foregoing is true and correct. Executed this 23rd day of July, 2024.
     27
                                                           By: /s/ Chris K. Ridder
     28                                                           Chris K. Ridder (SBN 218691)
--                                            -1-
              DECLARATION OF CHRIS K. RIDDER ISO MOTION TO DISMISS THE COMPLAINT
Case 8:24-cv-01285-JWH-ADS Document 14 Filed 07/23/24 Page 3 of 22 Page ID #:71




                    EXHIBIT A
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 Pro Se 2(Rev. 12/16)Complaint and Request for Injunction



                                       UNITED STATES DISTRICT COi                                    I~PR 17 PM 3~ 38
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                                                                         Division



                                                                              Case No.   ~,

~~~~, ~ ~o ~ ~-1~.~,~P      Plaintiffs)
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(Write thefull name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofal[ the plaintiffs cannotfit in the space above,
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)
                                 -V-




                            Defendants)
(Write thefull name ofeach defendant who is being sued. Ifthe
 names ofa[!the defendants cannotfit in the space above, please
 write "see attached"in the space and attach an additional page
 with thefull list ofnames.)



                                   COMPLAINT AND REQUEST FOR INJUNCTION


 I.       The Parties to This Complaint
          A.         The Plaintiffs)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                               Name
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                               E-mail Address                     ~~~ ~,,~~`
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          B.         The Defendants)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (tfknown). Attach additional pages if needed.

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Pro Se 2(Rev. 12/16) Complaint and Request for Injunction


                     Defendant No. 1
                               Name                         ~ d Z(. ~,~~   ~' d U Q'~C~ ~   a1~
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                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (i}'knoWn)


                    Defendant No. 2
                               Name
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                               Street Address
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                               State and Zip Code
                               Telephone Number
                               E-mail Address (ifknown)


                    Defendant No. 3
                               Name
                               Job or Title (ijknown)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (tfknown)


                    Defendant No. 4
                               Name
                               Job or Title (rfknown)
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                              Telephone Number
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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is he basis for federal court jurisdiction? (check all that apply)
                      Federal question                           ❑Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.        If the Basis for Jurisdiction Is a Federal Question

                    List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                    are at issue in this case.




         B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                               The Plaintiffs)

                               a.        If the plaintiff is an individual
                                         The plaintiff, (name)                                               ,is a citizen of the
                                         State of(name)


                               b.        If the plaintiff is a corporation
                                         The plaintiff, (name)                                                 is incorporated
                                         under the laws of the State of(name)
                                         and has its principal place of business in the State of(name)



                             (Ifmore than one plaintiffis named in the complaint, attach an additional page providing the
                             same informationfor each additional plaintiff.)

                    2.        The Defendants)

                              a.         If the defendant is an individual
                                         The defendant, (name)                                                 is a citizen of
                                         the State of(name)                                                Or is a citizen of
                                        (foreign patron)




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Pro Se 2(Rev. 12116) Complaint and Request for Injunction




                                b.        If the defendant is a corporation
                                          The defendant, (name)                                         is incorporated under
                                          the laws of the State of(name)                                         and has its
                                          principal place of business in the State of(name)
                                          Or is incorporated under the laws of(foreign narion)
                                          and has its principal place of business in (name)


                             (Ifmore than one defendant is named in the complaint, attach an additional page providing the
                             same informationfor each additional defendant.)

                               The Amount in Controversy

                               The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
                               stake—is more than $75,000, not counti~}g interest and costs of court, because (explain):


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III.      Statement of Claim~'b~.~b ~.~

         Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
         facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
         was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights,
         including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
         claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
         needed.

          A.         Where did the events giving rise to your claims) occur?

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          B.         What date and approximate time did the events giving rise to your claims) occur?     v
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Pro Se 2(Rev. 12/l6) Complaint and Request for Injunction

          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did whar?
                     Was anyone else involved? Who else saw what happened?)                                    ~

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IV.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result ofthe events described above, or why such compensation
          could not be measured.                                                                                                        ('

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V.        Relief      —~`              v~~ ~~                     ~ ~~~~~                     ~~ ~~~                  ~

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          State riefly and precisely wh~amages of e~e       ~-~  tit~plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.
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Pro Se 2(Rev. 12/16) Complaint and Request for Inl~ction



VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and(4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.        For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date of signing:            ~-~ -(7- ~a~ y


                    Signature of Plaintiff
                    Printed Name of Plaintiff              I~i~r.t_~C~~dC        ~ ~~

         B.         For Attorneys


                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Street Address
                    State and Zip Code
                    Telephone Number
                    E-mail Address




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                     EXHIBIT B
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  When screening a complaint under 28 U.S.C. § 1915, the Court must identify cognizable claims and dismiss
  claims that are frivolous, malicious, fail to state a claim on which relief may be granted or seek monetary
  relief from a defendant who is immune from such relief. 28 U.S.C. § 1915(e)(2). Dismissal for failure to
  state a claim under § 1915(e)(2) incorporates the standard for failure to state a claim under Federal Rule of
  Civil Procedure 12(b)(6). Watison v. Carter, 668 F.3d 1108, 1112 (9th Cir. 2012). To survive § 1915 review,
  a complaint must “contain sufficient factual matter, accepted as true, to state a claim to relief that is
  plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The court liberally construes pro se
  complaints and may only dismiss them “if it appears beyond doubt that the plaintiff can prove no set of facts
  in support of his claim which would entitle him to relief.” Nordstrom v. Ryan, 762 F.3d 903, 908 (9th Cir.
  2014).

  In this case, Plaintiff appears to assert that "Mozilla Foundation" has, for the past four years, not allowed
  him to use the Internet because the Firefox browser "corrupt[s] and shut[s] off [his] personal devices." (Dkt.
  1.) He claims that, despite being indigent and unhoused, he has "285 personal devices, 50 laptops, 50 tablets,
  50 chromebooks." (Id. at 4.) According to Plaintiff, this has made it impossible for him to find a job. (Id.)

  Plaintiff's allegations are fanciful and frivolous. Plaintiff asserts that Defendant uses "Augmented Reality,"
  which "actively makes a connection with [his] retina. No two are the same. No matter where [Plaintiff is]
  they ID [him] from any device anywhere. In less than 5 seconds [they] shut off and crash [his]
  devices." (Id. at 5.) The relief he seeks from the Court is to "share the same harsh unfair unacceptable
  condition to them." (Id.) Because Plaintiff's claim is frivolous and fails to state a claim on which relief may
  be granted, his case must be DISMISSED. See 28 U.S.C. § 1915(e)(2); Anderson v. Sy, 486 F. App’x 644 (9th
  Cir. 2012) (“The district court properly dismissed Anderson’s action as frivolous because the complaint
  contains indecipherable facts and unsupported legal assertions.”). “Dismissals on these grounds are often
  made sua sponte prior to the issuance of process, so as to spare prospective defendants the inconvenience
  and expense of answering such complaints.” Neitzke v. Williams, 490 U.S. 319, 324 (1989) (internal citation
  omitted).




                                                                                         (attach additional pages if necessary)

CV-73 (07/22)            ORDER ON REQUEST TO PROCEED IN FORMA PAUPERIS (NON-PRISONER CASE)
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